Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

                                     JOINT SCHEDULING REPORT

         Pursuant to Federal Rule of Civil Procedure 26(f), Southern District of Florida Local Rule

 16.1(b)(2) and (b)(3), and the Court’s Order Requiring Scheduling Report And Certificates Of

 Interested Parties (“Court Order”) (ECF No. 4), the parties held a telephone conference on

 November 22, 2021 to develop the following written discovery plan and scheduling report and

 order as required by the aforementioned rules. Attending for each party were:

         Plaintiff Securities and Exchange Commission: Alice Sum, Esq.

         Defendant Guy Gentile: Adam Ford, Esq.

                                           Written Discovery Plan1

 General Statement:
 The parties believe this is a Standard Track Case as set forth in Local Rule 16.1(a), requiring
 no more than 10 days of trial time. Accordingly the parties request the Court set this case
 on the Standard Track with the deadlines set forth below.
 1
   Mr. Gentile currently has a pending motion to stay this proceeding [ECF No. 39], and should this case move
 forward intends to file a motion to dismiss the Complaint. His agreement to this discovery plan in compliance with
 this Court’s orders while his motion is pending shall not be used or considered evidence of an acknowledgment that
 this case should proceed in this Court or that discovery in this case should proceed.
Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 2 of 6




 The parties anticipate seeking written and document discovery and taking depositions. The
 parties have not yet determined whether they see a need for taking more than 10 depositions
 per side as limited by Federal Rule of Civil Procedure 30(a)(2)(A); if one or more parties
 seeks more than 10 depositions the parties will attempt to arrive at a stipulation to be filed
 with the Court.

 The parties do not propose any limits on written discovery at this time other than those set
 forth in the Federal Rules of Civil Procedure. If any party seeks additional limits or written
 discovery the parties will attempt to arrive at a stipulation to be filed with the Court.

 The parties developed the following scheduling plan using the factors set forth in Local Rule
 16.1(b)(2) and Federal Rule of Civil Procedure 26(f):

 (A) The likelihood of settlement.
 The parties do not currently anticipate a settlement but will continue to discuss possible
 resolutions.

 (B) The likelihood of appearance in the action of additional parties.
 The parties do not anticipate the appearance of additional parties.

 (C) Proposed limits on the time:

 (i) to make the required disclosures under FRCP Rule 26(a)(1):
 January 7, 2022.

 (ii) to notify the Court of selection of a mediator and the date and location for mediation:
 January 7, 2022.

 (iii) to join other parties and to amend the pleadings;
 January 31, 2022.

 (iv) to disclose the identity of all expert witnesses and provide all disclosures required by Federal
 Rule of Civil Procedure 26(a)(2);
 May 20, 2022.

 (v) To provide the identity of any rebuttal expert witnesses and their disclosures required by
 Federal Rule of Civil Procedure 26(a)(2);
 June 3, 2022.

 (vi) to complete discovery;
 The parties suggest a discovery cutoff date of August 22 2022, which is 269 days after
 November 26, 2021, within the time frame contemplated by the Standard Track. All
 discovery should be undertaken in sufficient time to allow for completion of all discovery by
 this date (i.e., written interrogatories or document requests should be served no later than
 30 days before end of discovery).

                                                   2
Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 3 of 6




 (vii) to complete mediation;
 September 23, 2022.

 (viii) to file and hear motions;
 The parties suggest a deadline for filing dispositive pre-trial motions and Daubert motions
 (including motions to strike expert witnesses) of October 21, 2022.

 (ix) deadline for filing pre-trial motions in limine;
 December 19, 2022.

 (x) and submission of joint pre-trial stipulation (including witness and exhibit lists), proposed jury
 instructions and verdict form, or proposed findings of fact and conclusions of law, as applicable.
 February 20, 2023.

 (D) Proposals for the formulation and simplification of issues, including the elimination of
 frivolous claims or defenses, and the number and timing of motions for summary judgment or
 partial summary judgment.
 The parties will continue to discuss the simplification of issues and paring down of any claims
 and defenses. Regarding summary judgment, the parties suggest limiting summary
 judgment motions to one motion per party by the agreed upon deadline.

 (E) The necessity or desirability of amendments to the pleadings.
 The parties do not anticipate amending the pleadings at this time.

 (F) The possibility of obtaining admissions of fact and of documents, electronically stored
 information or things which will avoid unnecessary proof, stipulations regarding authenticity of
 documents, electronically stored information or things, and the need for advance rulings from the
 Court on admissibility of evidence.
 The parties will attempt to stipulate to the authenticity of documents and admissibility of
 evidence so as to avoid numerous mid-trial arguments and the need for rulings that will slow
 down trial. Once the parties discuss and file their final witness and exhibit lists, the parties
 can address unresolved evidentiary issues at the final pre-trial conference. To be discussed
 further.

 (G) Suggestions for the avoidance of unnecessary proof and of cumulative evidence.
 The parties will attempt to reach pre-trial stipulations. To be discussed further.

 (H) Suggestions on the advisability of referring matters to a Magistrate Judge or master.
 The parties believe the standard referral of discovery motions to the Magistrate is
 appropriate. The parties do not believe referring matters to a special master would be
 appropriate.

 (I) A preliminary estimate of the time required for trial.
 No more than 10 days.



                                                    3
Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 4 of 6




 (J) Requested date or dates for conferences before trial, a final pre-trial conference, and trial.
 The parties request that trial be held in April 2023. They request a final pre-trial conference
 approximately three weeks before trial.

 (K) Any issues about: (i) disclosure, discovery, or preservation of electronically stored
 information, including the form or forms in which it should be produced; (ii) claims of privilege
 or of protection as trial-preparation materials, including – if the parties agree on a procedure to
 assert those claims after production – whether to ask the Court to include their agreement in an
 order under Federal Rule of Evidence 502; and (iii) when the parties have agreed to use the ESI
 Checklist available on the Court’s website, matters enumerated on the ESI Checklist.
 The parties agree to preserve all discoverable or potentially discoverable information within
 their possession, custody, or control. Whenever feasible, the parties will produce all
 electronically stored information (“ESI”) in bates-stamped, OCR text, or tiff format.
 Alternatively, if unable to produce ESI in such a manner, the parties will produce the
 information in the existing stored format. The parties further agree that they will maintain
 all relevant ESI in its original format until final resolution of this matter.

 The parties have agreed that if any party inadvertently produces ESI or other documents
 that the producing party claims after production are privileged, the producing party will
 notify the opposing party promptly after learning that an inadvertent production of
 privileged material has occurred. See FRE 502. Further, the receiving party shall promptly
 return, sequester, or destroy the material in question, and must take reasonable steps to
 retrieve the information from third parties, including expert witnesses. However, the parties
 reserve their right to claim the disclosed information was not privileged, or that the privilege
 was waived, and submit the matter to the Court if an agreement cannot be reached.

 (L) Any other information that might be helpful to the Court in setting the case for status or pre-
 trial conference.
 None at this time.




                                                 4
Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 5 of 6




 November 26, 2021

 Respectfully submitted,

 /s/Alice Sum______________________          /s/Dayliset Rielo______________________
 Alice Sum, Esq.                             Dayliset Rielo, Esq.
 Trial Counsel                               The Rielo Law Firm, LLC
 Florida Bar No. 354510                      8180 N.W. 36th Street
 801 Brickell Avenue, Suite 1950             Suite 200
 Miami, Florida 33131                        Miami, FL 33166
 (305) 416-6293                              Phone: Office: (786) 454-9873
 Email: sumal@sec.gov                        (786) 454-9873
                                             Email: dayliset@rielolaw.com
 Attorneys for Plaintiff
 SECURITIES AND EXCHANGE COMMISSION          FORD O’BRIEN, LLP
                                             Adam C. Ford, Esq. (PHV granted)
                                             Matthew A. Ford, Esq. (PHV granted)
                                             575 Fifth Ave, Floor 17
                                             New York, NY 10017
                                             Tel: (212) 858-0040
                                             Email: aford@fordobrien.com
                                             Email: mford@fordobrien.com

                                             Attorneys for Defendant Guy Gentile




                                       5
Case 1:21-cv-21079-BB Document 49 Entered on FLSD Docket 11/26/2021 Page 6 of 6




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 26th day

 of November 2021 via CM-ECF on all defense counsel in this case or other interested parties in the

 manner denoted below.

 Via UPS
 MintBroker International, Ltd.
 c/o Michael C. Miller, Registered Agent
 Winthrop Heights
 10 Lookout Hill
 Nassau, Bahama

 Via Email
 Warren Gluck, Esq.
 Jessica Magee, Esq.
 Holland and Knight LLP
 Email: Warren.Gluck@hklaw.com
 Email: Jessica.Magee@hklaw.com
 Counsel for Igal Wizman of Ernst & Young,
 Joint Provisional Liquidators

                                                     Alice K. Sum
                                                     Alice K. Sum




                                                 6
